Case 4:17-cr-40024-KES Document 70 Filed 08/28/18 Page 1 of 5 PageID #: 206




                       UNITED STATES DISTRICT COURT


                          DISTRICT OF SOUTH DAKOTA


                                SOUTHERN DIVISION



UNITED STATES OF AMERICA,                            4:17-CR-40024-01-KES


                   Plaintiff,

      vs.                                                     VERDICT


JACQUES EVIGLO,
d/b/a Global Income Tax Services,

                   Defendant.




      We,the Jury, unanimously find the defendant,Jacques Eviglo, doing business

as Global Income Tax Services, as follows:



1.   For Count One of"making a false claim against the
                                                                     Not GuHtv
     United States," as explained in Final Jury Instruction
     No. 3, please mark your verdict.
c

                                                                 V • Guiltv

2.   For Count Two of"making a false claim against the
                                                                     Not Guiltv
     United States," as explained in Final Instruction No. 3,
     please mark your verdict.
                                                                 y Guiltv

3.   For Count Three of"making a false claim against the
                                                                     Not Guiltv
     United States," as explained in Final Jury Instruction
     No. 3, please mark your verdict.
                                                                     Guilty
Case 4:17-cr-40024-KES Document 70 Filed 08/28/18 Page 2 of 5 PageID #: 207




4.    For Count Four of"making a false claim against the
                                                                    Not GuUtv
      United States," as explained in Final Jury Instruction
      No. 3, please mark your verdict.
                                                                 X Guilty
5.    For Count Five of"making a false claim against the
                                                                    Not Guiltv
      United States," as explained in Final Jury Instruction
      No. 3, please mark your verdict.
                                                                 X Guiltv

6.    For Count Six of"making a false claim against the
                                                                    Not Guiltv
      United States," as explained in Final Instruction No. 3,
      please mark your verdict.
                                                                 }( Guiltv
7.    For Count Seven of"making a false claim against the
                                                                    Not Guiltv
      United States," as explained in Final Jury Instruction
      No. 3, please mark your verdict.
                                                                 y Gitiltv

8.    For Count Eight of"making a false claim against the
                                                                    Not Guiltv
      United States," as explained in Final Jury Instruction
      No. 3, please mark your verdict.
                                                                 X Guiltv
9.    For Count Nine of"making a false claim against the
                                                                    Not Guiltv
      United States," as explained in Final Jury Instruction
      No. 3, please mark your verdict.
                                                                 X Guiltv
10.   For Count Ten of"making a false claim against the
                                                                    Not Guiltv
      United States," as explained ia Final Instruction No. 3,
      please mark your verdict.
                                                                 X Guiltv
Case 4:17-cr-40024-KES Document 70 Filed 08/28/18 Page 3 of 5 PageID #: 208




11.   For Count Eleven of"making a false claim against the
      United States," as explained in Final Jury Instruction          Not Guilty
      No. 3, please mark your verdict.
                                                                  X GuUtv

12.   For Count Twelve of"making a false claim against the
      United States," as explained in Final Jury Instruction          Not Guilty
      No. 3, please mark your verdict.
                                                                  ^   Guiltv

13.   For Count Thirteen of"making a false claim against the
      United States," as explained in Final Jury Instruction          Not Guilty
      No. 3, please mark your verdict.
                                                                  )( Guiltv
14.   For Count Fourteen of"making a false claim against
      the United States," as explained in Final Instruction No.       Not Guilty
      3, please mark your verdict.
                                                                  y!. Guiltv

15.   For Count Fifteen of"making a false claim against the
                                                                      Not Guiltv
      United States," as explained in Final Jury Instruction
      No,. 3, please mark your verdict.
                                                                      Guilty

16.   For Count Sixteen of"making a false claim against the
                                                                      Not Guiltv
      United States," as explained in Final Jury Instruction
      No. 3, please mark your verdict.
                                                                      Guiltv


17.   For Count Seventeen of"making a false claim against
      the United States," as explained in Final Jury                  Not Guiltv

      Instmction No. 3, please mark your verdict.
                                                                  y Guiltv
18.   For Count Eighteen of"making a false claim against the
      United States," as explained in Final Instruction No. 3,        Not Guilty
      please mark your verdict.
                                                                  ^ Guiltv
Case 4:17-cr-40024-KES Document 70 Filed 08/28/18 Page 4 of 5 PageID #: 209




19.   For Count Nineteen of"making a false claim against
      the United States," as explained in Final Jury                   Not Guilty
      Instruction No. 3, please mark your verdict.
                                                                       Guilty

20.   For Count Twenty of"making a false claim against the
      United States," as explained in Final Jury Instruction          Not Guilty
      No. 3, please mark your verdict.
                                                                   )( Gudllv
21.   For Count Twenty-One of"making a false claim against
      the United States," as explained in Final Jury Instruction      Not Guhtv

      No. 3, please mark your verdict.
                                                                   ^ Guhtv
22.   For Count Twenty-Two of"making a false claim
                                                                      Not Guiltv
      against the United States," as explained in Final
      Instruction No. 3, please mark your verdict.
                                                                      Guilty

23.   For Count Twenty-Three of"making a false claim
      against the United States," as explained in Final Jury          Not Guhty
      Instruction No. 3, please mark your verdict.
                                                                   X Guiltv

24.   For Count Twenty-Four of"making a false claim
      against the United States," as explained in Final Jury          Not Guilty
      Instruction No. 3, please mark your verdict.
                                                                   X Guilty
25.   For Count Twenty-Five of"making a false claim against
      the United States," as explained in Final Jury Instruction      Not Guiltv

      No. 3, please mark your verdict.
                                                                   X Guilty




                                          4
Case 4:17-cr-40024-KES Document 70 Filed 08/28/18 Page 5 of 5 PageID #: 210




 26.   For Count Twenty-Six of"wire fraud," as explained in
                                                                    Not Guiltv
       Final Jury Instruction No. 4, please mark your verdict.
                                                                 ^ Guiltv
 27.   For Count Twenty-Seven of"wire fraud," as explained
                                                                    Not Guiltv
       in Final Jury Instruction No. 4, please mark your
       verdict.
                                                                 X Guilty
 28.   For Count Twenty-Eight of"wire fraud," as explained
                                                                    Not Guiltv
       in Final Jury Instruction No.4, please mark your
       verdict.
                                                                 X Guiltv
                                                                                 j
 29.   For Count Twenty-Nine of"wire fraud," as explained
                                                                    Not Guiltv
       in Final Jury Instruction No. 4, please mark your
       verdict.
                                                                 X Guiltv
 30.   For Count Thirty of"wire fraud," as explained in Final
                                                                    Not Guiltv
       Jury Instruction No. 4, please mark your verdict.

                                                                 X Guiltv
        Please sign and date the Verdict Form.
1

Date
